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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

              Plaintiff,

      v.                                           Case 1:19-cr-00018-ABJ


ROGER J. STONE, JR.

            Defendant.
___________________________________________/


                               NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that BUSCHEL GIBBONS, P.A. (Robert C.

Buschel, Esq., appearing) hereby enters its appearance as permanent counsel of

record on behalf of Defendant ROGER STONE and requests that all pleadings,

motions, notices, correspondence, orders and other filings regarding this case be

served on Robert C. Buschel, Esq. at the below address.

                                       Respectfully submitted,
                                       Robert C. Buschel, Esq.
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                                       By: __/s/ Robert C. Buschel________
                                            ROBERT C. BUSCHEL
                                            Florida Bar No. 0063436
                                            Pro hac vice pending
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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 25, 2019, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the foregoing document

is being served this day on all counsel of record or pro se parties identified on the

attached service list in the manner specified, either via transmission of Notices of

Electronic Filing generated by CM/ECF or in some other authorized manner for

those counsel or parties who are not authorized to receive electronically Notice of

Electronic filing.


                                             BUSCHEL GIBBONS, P.A.

                                             BY:_/s/ Robert Buschel_______
                                             ROBERT C. BUSCHEL
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